1. An application for a year's support under the Code, § 113-1002, is a suit as contemplated by Code, § 3-704, which prescribes a limitation of twenty years for the bringing of suits there referred to.
2. A year's support under the Code, § 113-1002, is a statutory right, and an application therefor must be filed within twenty years from the date the right accrues.
3. The right to a year's support accrues upon the death of the husband or parent, and not upon the qualification of the legal representative of the estate. The twenty-year limitation period is computed from the date the right accrues, and not from the date the legal representative is qualified.
                         DECIDED JULY 15, 1943.
The application for a year's support of Mrs. Bertha Nixon, defendant in error, as amended, and the return of the appraisers thereon, and the demurrers thereto, and the objections thereto, as filed in the ordinary's court, and as renewed and amended in the superior court (to which an appeal was had by consent), materially show: First, that Robert Nixon, husband of Mrs. Bertha Nixon died February 29, 1920. Second, at the time of his death he owned a one-fourth undivided vested remainder interest in a lot of land in Floyd County Georgia, being his entire estate. Third, at the time of his death his mother was in possession as life tenant of the realty. A deed was duly executed and recorded showing a conveyance of the land to the mother for life, with the vested remainder in four children, one of whom was Robert Nixon. Fourth, both parties in the instant case were under the impression that Robert Nixon had no interest in the land, the plaintiffs in error so contending. Fifth, the life tenant died on the 1st day of June, 1929. After the death of the life tenant, Mrs. Robert Nixon obtained letters of administration on the estate of her husband. It does not appear just when these letters were issued to her. The estate of Robert Nixon was indebted to the plaintiffs in error for more than *Page 668 
$1000, the sum set aside for a year's support by the appraisers. The administratrix, Mrs. Robert Nixon, filed suit for the vested remainder interest in the realty of her deceased husband. She finally recovered the land as administratrix after appeal to the Supreme Court of Georgia. The plaintiffs in error were her contestants. Sixth, after the termination of that litigation Mrs. Robert Nixon filed this application for a year's support on September 9, 1942. The plaintiffs in error, Mrs. Maggie Nixon and W. T. Nixon, as creditors, filed objections to same, and demurrers as above mentioned. When the demurrers came on for hearing before the judge of the superior court, he overruled them. The applicant assigns error on that judgment. The case is here complaining of that ruling.
The sole question argued by the parties here is whether the claim for a year's support is barred by the statute of limitation, since the record shows that the application was not made by the widow until more than 20 years after the death of the husband. This court certified to the Supreme Court the following questions:
"1. Does the Code Annotated, § 3-704, apply to the time in which an application for a year's support must be made before such right be barred?
"2. If the answer to the first question is in the affirmative, is the twenty year limitation to be computed (a) beginning from the date of the death of the husband, or (b) from the date of the qualification of a legal representative."
On July 13th under a certificate of the clerk of the Supreme Court, this court was advised of the answers to the certified questions as follows:
"1. An application for a year's support under Code, § 113-1002 is a suit as contemplated by Code, § 3-704, which prescribes a limitation of twenty years for the bringing of suits there referred to.
"2. A year's support under Code, § 113-1002, is a statutory right, and an application therefor must be filed within twenty years from the date the right accrues.
"3. The right to a year's support accrues upon the death of the husband or parent, and not upon the qualification of the legal representative *Page 669 
of the estate. The twenty year limitation period is computed from the date the right accrues, and not from the date the legal representative is qualified."
From the foregoing and by virtue thereof, it is determined that the court erred in overruling the demurrers to the application for a year's support, and it is so ordered.
Judgment reversed. Broyles, C. J., and MacIntyre, J.,concur.